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AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                       __________ District of __________

                                                                             )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No.
                                                                             )
                            Defendant                                        )

                                              WAIVER OF THE SERVICE OF SUMMONS

To:
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                                      , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:
                                                                                            Signature of the attorney or unrepresented party


        Printed name of party waiving service of summons                                                      Printed name




                                                                                                                 Address


                                                                                                             E-mail address


                                                                                                           Telephone number

                                            Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.


           Print                          Save As...                                                                                   Reset
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AO 398 (Rev. 01/09) Notice of a Lawsuit and Request to Waive Service of a Summons



                                          UNITED STATES DISTRICT COURT
                                                                         for the
                                                     __________ District of __________

                                                                            )
                              Plaintiff                                     )
                                 v.                                         )       Civil Action No.
                                                                            )
                            Defendant                                       )
                 NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

To:
      (Name of the defendant or - if the defendant is a corporation, partnership, or association - an officer or agent authorized to receive service)
Address:
            (Address of the defendant or - if the defendant is a corporation, partnership, or association - address of an officer or authorized agent)

          Why are you getting this?

       A lawsuit has been filed against you, or the entity you represent, in this court under the number shown above.
A copy of the complaint is attached.

        This is not a summons, or an official notice from the court. It is a request that, to avoid expenses, you waive formal
service of a summons by signing and returning the enclosed waiver. To avoid these expenses, you must return the signed
waiver within 30 days (give at least 30 days, or at least 60 days if the defendant is outside any judicial district of the United States)
from the date shown below, which is the date this notice was sent. Two copies of the waiver form are enclosed, along with
a stamped, self-addressed envelope or other prepaid means for returning one copy. You may keep the other copy.

          What happens next?

         If you return the signed waiver, I will file it with the court. The action will then proceed as if you had been served
on the date the waiver is filed, but no summons will be served on you and you will have 60 days from the date this notice
is sent (see the date below) to answer the complaint (or 90 days if this notice is sent to you outside any judicial district of
the United States).

        If you do not return the signed waiver within the time indicated, I will arrange to have the summons and complaint
served on you. And I will ask the court to require you, or the entity you represent, to pay the expenses of making service.

          Please read the enclosed statement about the duty to avoid unnecessary expenses.

          I certify that this request is being sent to you on the date below.

Date:
                                                                                              Signature of the attorney or unrepresented party


                                                                                                                 Printed name




                                                                                                                   Address


                                                                                                                E-mail address


                                                                                                              Telephone number


           Print                          Save As...                                                                                    Reset
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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                        __________ District of __________

                                                                                )
                                 Plaintiff                                      )
                                    v.                                          )     Civil Action No.
                                                                                )
                               Defendant                                        )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                  District Judge’s signature



                                                                                                    Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.



         Print                           Save As...                                                                             Reset
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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



_________________________________     )
_________________________________     )
_________________________________     )
_________________________________     )
_________________________________,    )
                                      )
            Plaintiff(s),             )
                                      )
      v.                              )
                                      )
_________________________________     )        Civil Action No. ________________
_________________________________     )
_________________________________     )
_________________________________     )
_________________________________, )
                                      )
            Defendant(s)/             )
            Third-Party Plaintiff(s), )
                                      )
      v.                              )
                                      )
_________________________________     )
_________________________________     )
_________________________________     )
_________________________________     )
_________________________________, )
                                      )
            Third-Party Defendant(s). )
____________________________________)

           DISCLOSURE STATEMENT PURSUANT TO Fed. R. Civ. P. 7.1
                            (Civil Action)

      Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, ____________________,
                                                                     (type of party)
who is ________________________________________, makes the following disclosure:
             (name of party)




                                      Page 1 of 2
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1.     Is the party a non-governmental corporate party?
                                     9 YES          9 NO

2.     If the answer to Number 1 is “yes,” list below any parent corporation or state that there
       is no such corporation:

________________________________________________________________________

________________________________________________________________________

________________________________________________________________________



3.     If the answer to Number 1 is “yes,” list below any publicly-held corporation that owns
       10% or more of the party’s stock or state that there is no such corporation:
       ________________________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________

        The undersigned party understands that under Rule 7.1 of the Federal Rules of Civil
Procedure, it must promptly file a supplemental statement upon any change in the information that
this statement requires.


                                                    __________________________________
                                                    Signature of Counsel for Party

Date: ___________________




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               INSTRUCTIONS FOR COMPLETING AO 398 AND AO 399

AO 398 - NOTICE OF LAWSUIT AND REQUEST FOR WAIVER
(one form needs to be completed for each defendant you are suing)
and
AO 399 - WAIVER OF SERVICE OF SUMMONS
(one form needs to be completed for each defendant you are suing)

Block 1:      Middle District of PA

Block 2:      Your name

Block 3:      First named defendant

Block 4:      Do not fill out unless your case has already been assigned a case number. If you
              are submitting this form with your new complaint, the Clerk’s Office will fill in
              the assigned case number for you.

Block 5:      AO 398 – Name of Defendant and AO 399 – Name of Plaintiff's Attorney or Unrepresented
              Plaintiff.

Block 6:      Address of the defendant.

Blocks 1 through 4 will be the same for each form you complete but Block 5 and Block 6 will
be different as you need to complete one form for each named defendant.

DO NOT COMPLETE THE REST OF THE FORM. IF THE U.S. MARSHAL IS DIRECTED
TO SERVE YOUR COMPLAINT THEY WILL COMPLETE THE REST OF THIS FORM.
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AO 398 (Rev. 01/09) Notice of a Lawsuit and Request to Waive Service of a Summons



                                          UNITED STATES DISTRICT COURT
                                                                         for the
                                                       Block 1
                                                     __________ District of __________
                            Block 2
                                                                            )
                              Plaintiff                                     )
                                 v.                                         )       Civil Action No.            Block 4
                             Block 3                                        )
                            Defendant                                       )
                 NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

To:        Block 5
      (Name of the defendant or - if the defendant is a corporation, partnership, or association - an officer or agent authorized to receive service)
Address:         Block 6
            (Address of the defendant or - if the defendant is a corporation, partnership, or association - address of an officer or authorized agent)

          Why are you getting this?

       A lawsuit has been filed against you, or the entity you represent, in this court under the number shown above.
A copy of the complaint is attached.

        This is not a summons, or an official notice from the court. It is a request that, to avoid expenses, you waive formal
service of a summons by signing and returning the enclosed waiver. To avoid these expenses, you must return the signed
waiver within          days (give at least 30 days, or at least 60 days if the defendant is outside any judicial district of the United States)
from the date shown below, which is the date this notice was sent. Two copies of the waiver form are enclosed, along with
a stamped, self-addressed envelope or other prepaid means for returning one copy. You may keep the other copy.

          What happens next?

         If you return the signed waiver, I will file it with the court. The action will then proceed as if you had been served
on the date the waiver is filed, but no summons will be served on you and you will have 60 days from the date this notice
is sent (see the date below) to answer the complaint (or 90 days if this notice is sent to you outside any judicial district of
the United States).

        If you do not return the signed waiver within the time indicated, I will arrange to have the summons and complaint
served on you. And I will ask the court to require you, or the entity you represent, to pay the expenses of making service.

          Please read the enclosed statement about the duty to avoid unnecessary expenses.

          I certify that this request is being sent to you on the date below.

Date:
                                                                                              Signature of the attorney or unrepresented party


                                                                                                                 Printed name




                                                                                                                   Address


                                                                                                                E-mail address


                                                                                                              Telephone number
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AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                    Block 1
                                                    __________ District of __________
                             Block 2
                                                                             )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No.             Block 4
                             Block 3                                         )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To:        Block 5
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                                      , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:
                                                                                            Signature of the attorney or unrepresented party


        Printed name of party waiving service of summons                                                      Printed name




                                                                                                                 Address


                                                                                                             E-mail address


                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
